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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:                                             )   Chapter 11
 Blueprint Investment Fund, LLC                     )
                                                    )   Case No. 22-11059 JGR
                                                    )
                                                    )
                                                    )
                                                    )
          Debtors                                   )


                       NOTICE PURSUANT TO 11 U.S.C. § 546(b) BY
                     BUILDERS CAPITAL OPPORTUNITY FUND, LLC

        Pursuant to 11 U.S.C. § 546(b), to the extent not already perfected, Builders Capital
Opportunity Fund, LLC (“Lender”), hereby gives notice to Debtor and all other parties in interest
in this case of Lender’s perfection of its interest in and to all rents, issues, profits, and other
revenues of every nature derived from certain real property and improvements thereon located in
Jefferson County, Colorado, and more particularly described in the Deed of Trust attached
hereto, as provided for under the loan documents for Loan No. 71159, copies of which are
attached, and further demands segregation and accounting of the funds received from such
collateral.

         Dated: May 23, 2022.                OTTESON SHAPIRO LLP

                                             By:    /s/ Duncan E. Barber
                                             Duncan E. Barber, #16768
                                             7979 E. Tuffs Avenue, Suite 1600
                                             Denver, CO 80237
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                                             LLC
715722




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                              CERTIFICATE OF SERVICE

        The Undersigned Certifies that on May 23, 2022, a true and correct copy of the NOTICE
PURSUANT TO 11 U.S.C. § 546(b) BY BUILDERS CAPITAL OPPORTUNITY FUND,
LLC was electronically filed using the CM/ECF system, which will send notification
electronically to all parties.




                                          /s/ Laura Winant
                                          Laura Winant, Legal Assistant




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